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WESTERN DISTRICT OF MICHIGAN
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CERTIFICATE OF GOOD STANDING

|, Thomas L. Dorwin, Clerk of the United States District Court

for the Western District of Michigan, do hereby certify that

GARY K. SPRINGSTEAD

was duly admitted to practice in said Court on February 02, 2006
and is in good standing as a member of the bar of said Court.
Thomas L. Dorwin, Clerk of Court

Dated at Grand Rapids,
Michigan, on June 9, 2022

By: Wo, sraefor /

Deputy Clerk
